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          EXHIBIT A
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 2 of 125 PageID# 2820
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           EXHIBIT 1
   Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 7 of 125 PageID# 2825


Stephen Ferguson

From:                             Support <Support@SIDN.NL>
Sent:                             Friday, March 24, 2017 3:16 AM
To:                               Stephen Ferguson
Subject:                          Call: 01.819.110 :Request To Disable Domains: asiaasia.nl and topasia.nl


 Customer         Juridisch
 Date             vrijdag 24 maart 2017
 Callnumber       01.819.110

Dear Sir/Madam,

Because a verdict from the USA has no authority in the Netherlands, SIDN will not answer to your request to disable the
domain names mentioned.

Moreover, based on the relevant terms and conditions and contracts, SIDN does not have the contractual right to do so. As
usual, we will forward your email to the managing registrar of the domain name, united-domains AG.

For more information on Infringement of rights please visit our website: https://www.sidn.nl/a/nl-domain-
name/infringement-of-rights?language_id=2

With kind regards,

Harry Derksen
 




 
SIDN | Meander 501 | 6825 MD | Postbus 5022 | 6802 EA | ARNHEM
T +31 (0)26 352 55 55 | F +31 (0)26 352 55 05 | @SIDNSupport
support@sidn.nl | www.sidn.nl




                                                            1
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           EXHIBIT 2
    Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 9 of 125 PageID# 2827


Stephen Ferguson

From:                                   united-domains AG <support@united-domains.de>
Sent:                                   Monday, April 03, 2017 9:47 AM
To:                                     Stephen Ferguson
Subject:                                Re: [Ticket#2017032410004511] Request To Disable Domains: asiaasia.nl and topasia.nl


Dear Mr. Ferguson,

thank you for your e-mail.

Please note that our subsidiary United Domains, Inc. has no connection to the domains in question and therefore please only contact
us in this matter. We would also like to emphasize that united-domains AG is solely the Registrar of these domains but not providing
any hosting services for them.

We have looked through the documents you provided but we do not find that any of the court orders specifically refers to one of the two
domains in question.

In order to take any further steps we do need evidence that the domains are involved in an illegal activity as descrived in your letter.

Have you possibly also contacted the hosting provider of the domains, as it seems that the domains have been taken offline?

Sincerely,

Steffen Hamann
Legal Counsel
----------------------------------------------------------
united-domains AG
Gautinger Straße 10
82319 Starnberg
Tel.: + 49 8151 36867-25
(Mo.–Fr. 08:00–18:00 Uhr)
Fax: + 49 8151 36867-77
Web: www.united-domains.de
Support: www.united-domains.de/support
Facebook: www.facebook.com/uniteddomains
Twitter: www.twitter.com/uniteddomains
----------------------------------------------------------
Sitz: Starnberg, HRB 127020, Amtsgericht München
Vorstand: Florian Huber (Vors.), Alexander Helm, Markus Eggensperger
Aufsichtsrat: Robert Hoffmann (Vors.)
----------------------------------------------------------

24.03.2017 16:10 - Stephen Ferguson schrieb:
March 24, 2017

VIA Email and International Registered Mail




United-domains AG

Gautinger Straße 10

82319 Starnberg

Deutschland

support@united-domains.de

abuse@united-domains.de
                                                                     1
   Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 10 of 125 PageID# 2828


VIA Email and U.S. Certified Mail




United Domains, Inc.

210 Broadway, Suite 201/NGIN

Cambridge, MA 02139

support@uniteddomains.com

abuse@uniteddomains.com




                   Re:    DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil Action No. 1:15cv706 (E.D. Va.)




         Dear United-domains AG and United Domains, Inc.:




         This law firm is legal counsel for DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC, Soundview ATN LLC, Star India Private Ltd.,
and Viacom 18 Media Private Limited (collectively “Plaintiffs”) in the above referenced lawsuit against Shava IPTV Network LLC, Nadeem
Butt, Imran Butt, and Naeem Butt, individually and together doing business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple
Electronics (collectively “Shava”). This lawsuit brought federal copyright and trademark infringement claims against Shava arising out of
their distribution of numerous Arabic and South Asian-language channels.[1]




The purpose of this letter is to notify you that Shava is using the domains asiaasia.nl and topasia.nl in the course of infringing Plaintiffs’
copyrights in violation of permanent injunction orders entered by the United States District Court for the Eastern District of Virginia. As
such, we request your assistance in permanently disabling these domains.




Enclosed please find a copy of the order and permanent injunction entered against Shava IPTV Network LLC and Nadeem Butt by the
United States District Court for the Eastern District of Virginia on April 25, 2016. The order enjoins Shava IPTV, Mr. Butt, and any
persons or entities acting in active concert or participation with them that receives actual notice of the order from, among other things:
[R]eproducing, copying, transmitting, streaming, distributing, or publicly performing in the United States, by means of any device or
process, any of the Protected Channels or any of the programming that comprises or appears on the Protected Channels;
Enclosed please also find a copy of the order and permanent injunction entered against Imran Butt and Naeem Butt by the United
States District Court for the Eastern District of Virginia on January 24, 2017, as well as the referenced decisions dated September 15,
2016 and January 6, 2017. The permanent injunction provides in relevant part that:

[D]efendants Imran Butt and Naeem Butt are PERMANENTLY ENJOINED from further infringing on plaintiffs Al Jazeera Media
Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview
Broadcasting LLC, Soundview ATN LLC, Star India Private Ltd., Viacom 18 Media Private Limited, and DISH Network L.L.C.’s
exclusive rights in their copyrights and trademarks.
The order also awards $25.65 million in damages under the Copyright Act.




The Shava TV set-top box and service is using the domain asiaasia.nl and the Cres IPTV set-top box and service is using the domain
topasia.nl in the course of infringing Plaintiffs’ copyrights in violation of these permanent injunction orders by continuing to distribute the
Protected Channels in the United States.
                                                                      2
    Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 11 of 125 PageID# 2829


Pursuant to your General Terms & Conditions you may suspend, terminate, cease transmission of data, and take any other actions you
deem necessary for your customer’s violation of the intellectual property rights of any third party.                              (See
https://www.uniteddomains.com/service/termsandconditions/ at ¶¶ 2.2.6, 2.3.4, 2.3.8, and 7.9.) Accordingly, we request your assistance
in permanently disabling the asiaasia.nl and topasia.nl domains.




We would appreciate a response within 5 days confirming that you have permanently disabled the asiaasia.nl and topasia.nl domains.




                                                       HAGAN NOLL & BOYLE LLC




 ________________________________
Stephen M. Ferguson

(enclosures attached in PDF file)

 



[1] Plaintiffs own or control exclusive rights under copyright to distribute the following channels that Shava is continuing to distribute in
the United States: Aasthat Bhajan, Al Hayah 1, Al Jazeera Arabic News, Al Jazeera English, Al Jazeera Mubasher, ARY Digital, ARY
News, ATN Bangla, B4U Movies, B4U Music, Banglavision, Channel-i, Colors (Aapka Colors), Dunya TV, Future TV, Geo News, Iqraa,
LBC, Life OK, MBC1, MBC Drama, MBC Masr, Murr TV (MTV Lebanon), Noursat, NTV Bangla, OTV, SAB, SET Max, Sony SET, Star
India Plus, and Zee Cinema (collectively “Protected Channels”).




                                                                      3
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 12 of 125 PageID# 2830




            EXHIBIT 3
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Dealers America                                                                        You are here: Home / Dealers America




                 Arizona                                          Austria                 California


                New york                                          Georgia                   Illinois


                Maryland                                      Massachusetts                Minesota


                    Ohio                                          Texas                      Utah


                 Virginia                                     Need Dealers              Need Dealers




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Arizona                                                                                                     You are here: Home / Arizona




    99 INTERNATIONAL MARKET                       DAVINDER SING                         LULUS MINI MARKET
    MR. BURI                                      Address: 2544 n 7th st #101           11 W Baseline,Tempe, AZ, 85383.
    99 International Market                       City: Phoenix                         Tel: 480-755-2330
    2742 W. Camelback Rd.                         Postal Code: 85006
    Phoenix, Arizona, 85017                       Country: United States of America
    (Tel: 602 561 6236)                           Phone Number: (480)248-0856
                                                  Email: Pk100ja@msn.com




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California                                                                             You are here: Home / Asian Dealers / United States / California




    (California)                                 Shak (510 290 0786) 


    Kenny (909-213-7081,909 498 6132
    S. Chauhdry (770 815 8315)


    BOMBAY MUSIC (BERKELEY)                      HALAL FOOD MARKET IN BERKELEY

    Mr. Anil Ajmany, 1006 University Ave.,       Mr. Ali
    BERKELEY, CA 94710, USA
                                                 1964 SAN PABLO AVE, BERKELEY, CA 94702
    PHONE: 5108453311
                                                 PHONE :510 845 2000 , 925 914 1498
    E-MAIL; 1bombaymusic@gmail.com


    HI-TECH INTERNATIONAL (W.                    Indian Grocery and General Store
    SACRAMANTO)                                  Mr. SINGH

    1449 SACRAMENTO AVENUE, WEST                 Phone:209 450 1365
    SACRAMENTO, CA 95605                         []
    PHONE :916-995-8525                          C-3230 Mitchell Rd Ceres, CA 95307
    E-MAIL: sohaziz@gmail.com                    bigdepotindian@hotmail.com
                                                 [mailto:bigdepotindian@hotmail.com]


    INDIA BAZZAR (STOCKTON)                      INDIAN FOOD MART. (FRESNO)
            Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 16 of 125 PageID# 2834
Mr. Happy, 1304 E.Hammer Lane, Stockton,    4792 E KINGS CANYON ROAD, FRESNO, CA
CA 95210                                    93702,USA
PHONE :209-478-0285 , 209-594-8473          PHONE :559-994-1417
                                            E-MAIL; harryrta@gmail.com


MR. AFTAB IN SACRAMENTO                     MR. ATUL MALIK (BERKELEY)

4401, 47TH STREET, SACRAMENTO, CA           1962 San Pablo Avenue, Berkeley,CA 94702
05824
                                            Phone: 510 649 7777
PHONE : 916 747 1357
                                            E-mail: in nitytravels@sbcglobal.net


MR. AVTAR SINGH (BSONS TRAVEL & TEXAS       MR. KARIM, SMOKE FOR LESS
SERVICE)
                                            1652 N. Texas Street, Fair eld, CA 94533
1652 WEST TEXAS STREET189, SUITE 205,       PHONE :510-684-9586
FAIRFIELD, CA 94533,                        Email:karimhotaki@gmail.com
PHONE :707 703 1451


MR. NAVEEN KHOSLA (SHALIMAR INDIAN          MR. PARSAD (FIJI INDIAN STORE)
GROCERY)
                                            117 WEST MAIN STREET, WOODLAND, CA
32120 ALVARADO BLVD, UNION CITY, CA         95695
94587                                       PHONE :530 668 8333
PHONE :510 487 7752 , 209 678 5004


MR. SHAFI (HALAL MEATS)                     Royal Punjab (Yuba city)

1538 S. DE ANZA BLVD, SAN JOSE, CA 95129,   1494 BRIDGE STREET, SUIT C, YUBA CITY, CA
PHONE :408 865 1222                         95993
                                            PHONE :530 751 2442


RAVI                                        RICHMOND, CA (MR. SHAKEEL)
                Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 17 of 125 PageID# 2835
Phone:661 835 8930 []                     Mr. Shakeel
All India Sweet, 3150 Panama Slane # K,   BEST TIRES & WHEELS, 12826, SAN PABLO
Bakers eld, CA 93313                      AVENUE,
usakamboj@yahoo.com
                                          RICHMOND CA 94805, Ph. 510 234 1700
[mailto:usakamboj@yahoo.com]
                                          [tel:510%20234%201700]


SHARMA JI, BOMBAY VIDEO (YUBA CITY)       SHUJA SIDDIQI

1410 Bridge Street, Yuba City, CA 95993   Phone:510 364 7595 []
PHONE :530-673-7150                       Halal Meat and Grocery, 583 Saratoga
                                          avenue, Santa Clara, CA 95050
                                          shuja_siddi@hotmail.com
                                          [mailto:shuja_siddi@hotmail.com]


Universal Appliances Inc                  SMOKE ZONE, (FREEMONT)
18431 Pioneer Blvd
                                          Mir Wais, 46699 Massion Blvd, Freemont, CA
Artesia, CA 90701
                                          94534
United States
                                          PHONE :510-656-9663 , 510-688-5878
Phone number (562) 865-3767


TARIQ                                     UNION CITY, CA (MR. WAQAS)

Phone # 315 542 5615 []                   Mr. Waqas, CURRY KING , PAKISTAN AND
17 Sola Court, Sacramento, CA 95835       INDIAN CUISINE,
Email:hemo7863@gmail.com                  34579 ALVARADO NILES ROAD, UNION CITY,
[mailto:home7863@gmail.com]               CA 94587
                                          510 200 1730 [tel:510%20200%201730]
                                          :waqaskhawaja85@yahoo.com


Prince Barber Shop                        Amar Fashion Grocery BazzarPhone:209-
                                          634-4840
37477 Fremont blvd suite C CA
                                          Lande ave Turlock CA
Ph:5106779942 [tel:5106779942] ,
5105059605 [tel:5105059605]
                 Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 18 of 125 PageID# 2836
  Madina Zabiha Halal Foodsfremont                        Rakesh
  510 445 0786
                                                          Contact: rakesh
                                                          101 Railroad Ave. Antioch, CA 94509
                                                          Phone: 925-778-7860, Email:
                                                          rakesh.sahni@yahoo.com


  Raavi Restaurant (Sanfrancisco)                         .
  Jackson St ca Sanfrancisco
  PH:510 290 0786




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Georgia                                                                                  You are here: Home / Asian Dealers / United States / Georgia




    ALL ELECTRONIC2 EXPO / MOHAMED                  BISHMILLAH HALAL GROCERY STORE
    MUKHTAR
                                                     
     
                                                    279 Power ferrys rd Marietta 30067
    447 N.Indian creek dr, Clarkston Ga 30021       Phone:770-565-8859
    Email: Mohamed _muqtar@yahoo.com
                                                     
     
                                                     
     


    DESI BAZAR AND HALAL MEAT                       FAISAL CHAUHDRY

                                                     

    Mostaque Ahmed                                  1000 Pine cove dr Lilburn ga 30047
                                                    Phone:770-617-4369
    2785 Cruse Road # 10
                                                     
    Lawranceville, 30044
                                                     
    Cell: 404 451 5730, Tel: 678 615 7089

    Email: mohimatl@yahoo.com

    www.desibazarus.com

     
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  NAMASTE BOLLYWOOD                                       SABRI KABAB HOUSE / BOLLYWOOD VIDEO

                                                           

  MOHSIN SOMANI                                           6075 singleton rd,Norcoss Ga 30093
  NAMASTE BOLLYWOOD                                       Phone: 678-768-1300
  770 DEKALB INDUSTRIAL WAY
                                                           
  SUITE A
  DECATUR, GA. 30033                                       
  TEL. NO. (678) 561-4786
  [tel:%28678%29%20561-4786]
  CELL. NO. (404) 513-5786
  [tel:%28404%29%20513-5786]

   

   


  SHAHI FASHION & VIDEO                                   SHAHZAD CHAUHDRY

                                                           

  851 Oak road Lawrenceville ga 30044                     6576 Dawson blvd norcross ga 30093
  Phone:404-786-0685                                      Email: Shchauhdry@yahoo.com
                                                          Phone:+1-770-815-8315
   

   




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Illinois                                                                               You are here: Home / Asian Dealers / United States / Illinois




    ALLIED AUTO /ABRAR SAHI – ROSELLE             AYAAN @ DEVON AVE, CHICAGO

                                                   

    680 West Lake St. Roselle, IL 60172           2356 W DEVON AVE
    Phone:+1-630-202-9430                         CHICAGO, IL 60659
                                                  Phone:+1-773-2629226
     
                                                   
     
                                                   


    INDO PAK FOODS / GLENDALE HEIGHTS             SHEHZAD

                                                   

    1985 Bloomingdale Rd, Glendale Heights, IL    7/11 store
    60139
                                                  954 W Monroe St. Chicago – IL 6067
    Phone:1 630 539 4078
                                                  Phone: 773-396-9111
     

     
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Maryland                                                                                                        You are here: Home / Maryland




    MR. SHAHID, COLUMBIA HALAL MEAT                                       MR. TARIQ, AL MADINA HALAL MEAT AND SPICES

                                                                           

    6520 Old Waterloo Road, Elkridge. MD 20175                            1808 Woodlawn Drive, Gwynn Oak, MD 21207, Baltimore
    Phone: 410-799-1910                                                   Phone: 410-265-8300

     

     




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Massachusetts                                                                           You are here: Home / Massachusetts




    HAMDI HALAL MARKET
    Hamdi Halal Market
    1433 Tremont Street
    Boston, MA 02120
    Tel: 617 606 7108
    moguled@gmail.com




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Minesota                                                                                    You are here: Home / Minesota




    YUSUF AHMAD ABOW
    Global Wireless and Computer Service
    311 W Lake St MINNEAPOLIS MN
    55408
    Phone: 6124239900
    midtowncomputer@gmail.com




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New Jersey                                                                         You are here: Home / Asian Dealers / United States / New Jersey




    AYAAN                                       AYAAN

                                                 

    530 MONTGOMERY ST                           1367 OAKTREE RD
    JERSEY CITY, NJ 07302                       Iselin, NJ 08830
    Phone:+1-201-4511010                        Phone: 732-283-1115

                                                 

                                                 


    JD ASIAN GROCERY STORE (YOUSUF SHAD)        RAINBOW BOOK SHOP / JAVED

                                                 

    285 Grove Street                            430 lincoln Hwy Iselin, NJ 08830
    Jersey City, NJ 07302                       Phone:+1-732-283-1186
    Phone:+12014517817

     

     
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New york                                                                                                             You are here: Home / New york




    CELL BELL                                        CHARLIE PAN SHOP                        EZEE COMMUNICATIONS INC1067 CONEY ISLAND
    7317 37TH RD                                     134 E 27TH ST B/W 3RD & Lexington Ave   AVE
                                                     NEWYORK, NY 10016                       BROOKLYN, NY 11230
    JACKSONHEIGHTS, NY 11372                         Phone:+1-212-5761122                    Phone:+1-718-5766744
    Phone:+1-718-4788100


    MICRO ZONE INC.                                  SOJI STATIONERY                         UJA
    (Computer Repair Store)                          Soji Stationery,                        953 newkirk ave
    1 New Bridge Rd. (Unit B)                        396 Palmer Avenue, Mamaroneck, NY       corner of coney island ave Brooklyn
    (Next to Dunkin Donuts and Wize Eyes             10543                                   Phone:+1-347-240-1421
    outlet)                                          Tel:9143151003
    Hicksville, NY 11801,                            Email Address : dilipdn444@yahoo.com
    516 209 1560
    microzoney.com




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Ohio                                                                                                              You are here: Home / Ohio




    FAKHI SAIKH MOHAMMAD                                              AMIR QURESHI (CINCINNATI AREA – OHIO)

                                                                       

    Columbus, OH 43204                                                6786 Tylersville Road ,West Chester, OH 45069
                                                                      Phone: Phone Number: 513-800-0345
    Phone Number : 6142098811 [tel:6142098811]
                                                                      Email:4cincy@gmail.com
    Email Address : MCALLIN2@HOTMAIL.COM
                                                                       
    [mailto:MCALLIN2@HOTMAIL.COM]
                                                                       
     

     


    MAKTABA TU SUNNA

     

    Islamic Book Store / Ahmad Aziz

    Columbus OH 43228.

    ph. 6149170691
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Portland                                                                          You are here: Home / Asian Dealers / United States / Portland




OSAMA QUTAB

Qutab International Marketing
9928 SW Quail Post Rd, Portland, OR, 97219
Tel: 503-781-7296
Email: osamaqutub@hotmail.com [mailto:osamaqutub@hotmail.com]




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Texas                                                                                                             You are here: Home / Texas




    ASIA FASHION ( MOHAMMAD NOOR )                                        HASSAN SHIRE

                                                                           

    Address: 2301 N. O`Connor Road. Suite # D, Irving, TX 75062           2047 Dahlia ST, Amarillo TX 79107.
    Phone:972-887-3063 , Cell: 972-408-7966 , Fax: 972-887-3064
                                                                          Phone Number : (806) 674-1895 [tel:%28806%29%20674-1895]
                                                                          Email Address : amasomali@yahoo.com
                                                                          [mailto:amasomali@yahoo.com]
     
                                                                           

                                                                           


    VONOCALL TELECOM / YOUSEF ALBANNA                                     ZAEEM AHMAD

                                                                           

    Address: 2540 E Plano Pkwy,Plano, 75074                               City: Houston
    Phone:+14695560043                                                    Phone: 832-202-5010
    Email: yousef@vonocall.com

     

     

     
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Utah                                                                              You are here: Home / Asian Dealers / United States / Utah




MADYAN HUSSEIN

P.O. Box 334

Salt Lake City

UT 84110

Phone: 801-661-3302
Email: madyan@live.com




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Virginia                                                                                                             You are here: Home / Virginia




    ALI GROCERY. RTE-1 IN WOODBRIDGE                                      BANGLA BAZAR (ARLINGTON)

                                                                           

    (Rehmat Ali) 14808 Build America Drive, Rout 1, Woodbridge, VA        (Taj ul Islam) 5149 Lee Hwy Arlington, VA 22207
    22191                                                                 Phone Number: 703-928-9082
    Phone Number: 703-497-8669                                            Email: mdtislam07@gmail.com

                                                                           

                                                                           


    CSS INC. (CHANTILLY)                                                  DMV WIRELESS/CHANDNI VIDEO:SPRINGFIELD VA

                                                                           

    14240-F Sully eld Circle Chantilly VA 20151                           7054 Spring Garden Dr
    Phone:703-367-0622
                                                                          Spring eld VA 22150.
    (Time – 9am to 6pm-after 5pm, please call before coming)
                                                                          Phone: 703-451-5580
     
                                                                           
     
                                                                           


    FAIR PRICE (WOODBRIDGE)                                               ZEE SPORTS
             Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 36 of 125 PageID# 2854
                                                         

13863 SMOKETOWN ROAD, WOODBRIDGE, VA 22192,             Zahid Mahmood
Phone:703-350-1170                                      10756 Ambassador Dr. Ste:201
                                                        Manassas VA 20109
 
                                                        Ph:7038694880
                                                        Email:zeesportsinternational@gmail.com
                                                        [mailto:zeesportsinternational@gmail.com]


KALSAN BOUTIQUE- FALLS CHURCH                           MISBAH BASIT, M & T ENTERPRISE LLC,

                                                         

3538 Carlin Springs Road,                               Phone # 703 380 3990 []
                                                        4164 Travers Court Chantilly, VA 20151
Falls Church, VA, 22041,
                                                        Misbahil.combasit@gmail.com
703 379 2799 (Mr. SAEED HASSAN)                         [mailto:Misbahil.combasit@gmail.com]

                                                         

                                                         


PAK BANGLA BAZAR / MUHAMMAD HOSSAIN                     SALEEM AT ARLINGTON GROCERY

                                                         

3439 Charles ST., Falls Church , 22041                  2524 Columbia Pike, Arlington, VA 22204
Phone Number: 7032563141                                Phone Number: 703-477-7671
Email: dolna2010@yahoo.com
                                                         
 
                                                         
 
                 Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 37 of 125 PageID# 2855
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Washington                                                                           You are here: Home / Asian Dealers / United States / Washington




    ABDINASIR NUR                                  AMJAD KHALIL

                                                    

    Maka Mini Market,4419,                         Premium Cigar & Pipes: 17711 # B HWY 99,
                                                   Lynwood WA 98037
    South Brandon St.
                                                   Phone: 425 741 2424
    Seattle. 98118                                 Email:premiumcigars@hotmail.com

    Tel: 206 261 4419                               

                                                    

     


    SHAKIR MOHMUD

     

    West Seattle Halal Market,
    9405 16th Ave, SW Seattle, WA 98106, USA
    Tel: 206 767 1936,
    Email: ws.halalmarket@gmail.com
    [mailto:ws.halalmarket@gmail.com]
                 Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 39 of 125 PageID# 2857


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Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 40 of 125 PageID# 2858




            EXHIBIT 4
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 41 of 125 PageID# 2859



                                                               Two Memorial City Plaza
                                                                820 Gessner, Suite 940
                                                                Houston, Texas 77024
                                                                  Tel: 713.343.0478
                                                                  Fax: 713.758.0146
                                                                   www.hnbllc.com


   March 13, 2017

   VIA U.S. Mail

   Family Phone
   7062 Broadway
   Jackson Heights, NY 11372

          Re:     DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

   Dear Family Phone:

          This law firm represents the Plaintiffs in the above referenced lawsuit against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava
   and Cres”). This lawsuit brought federal copyright and trademark infringement claims against
   Shava and Cres arising out of their distribution of numerous Arabic and South Asian-language
   channels in the United States.1

           The purpose of this letter is to notify you that Shava and Cres are continuing to distribute
   the Protected Channels in the United States, infringing Plaintiffs’ copyrights in violation of court
   orders, and to demand that you cease promotion and sale of these set-top boxes and services.




   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute the following channels
   that Shava and Cres are distributing in the United States: Aaj Tak, Aastha Bhajan, Al Hayah 1, Al
   Jazeera Arabic News, Al Jazeera English, Al Jazeera Mubasher, Al Jazeera Mubasher Misr, ARY
   Digital, ARY News, ATN Bangla, B4U Music, B4U Movies, Banglavision, Channel-i, Colors
   (Aapka Colors), Dream 2, Dunya TV, ESC, Express News, Future TV, Geo TV, Geo News,
   Headlines Today (India Today), Iqraa, Jaya TV, LBC, Life OK, MBC1, MBC Drama, MBC Kids
   (MBC3), MBC Masr, MH1, MTV Hindi (MTV India), Murr TV (MTV Lebanon), NBN, New TV
   (Al Jadeed), Nile Drama, Noursat, NTV Bangla, ONTV, OTV, Rishtey, SAB, SET Max, Sony
   SET, Star India Plus, Zee Cinema, and Zee TV (collectively “Protected Channels”).
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 42 of 125 PageID# 2860
                                                                                                  Page 2



           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

          Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced September 15, 2016 and January 6, 2017 report and
   recommendations. The permanent injunction enjoins them from further infringing Plaintiffs’
   exclusive rights in their copyrights and trademarks. The order also awards plaintiffs $25,650,000
   in damages under the Copyright Act.

           Shava and Cres listed you as a dealer on their websites, or we are otherwise aware that you
   have been actively distributing and offering to the public Shava TV or Cres IPTV set-top boxes
   and services. Your promotion and sale of these set-top boxes and services that are distributing the
   Protected Channels constitutes secondary copyright infringement and is the type of illegal conduct
   the federal district court enjoined and prohibited in its April 25, 2016 and January 24, 2017 orders.
   Your continued sale of Shava TV or Cres IPTV set-top-boxes and services may subject you to
   monetary liability and potentially court orders, including an order holding you in contempt of
   court.

           We demand that you take immediate action to ensure that you do not distribute, provide,
   or promote Shava TV or Cres IPTV set-top boxes and services or any other set-top box or service
   that distributes our clients’ Protected Channels in the United States.


                                                         Sincerely,

                                                         HAGAN NOLL & BOYLE LLC



                                                         ________________________________
                                                         Stephen M. Ferguson
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 43 of 125 PageID# 2861



                                                              Two Memorial City Plaza
                                                               820 Gessner, Suite 940
                                                               Houston, Texas 77024
                                                                 Tel: 713.343.0478
                                                                 Fax: 713.758.0146
                                                                  www.hnbllc.com


   August 23, 2017

   VIA Email and U.S. Certified Mail

   Family Phone
   Attn: Mohammad Rana
   70-62 Broadway
   Jackson Heights, NY 11372
   m_rana6@yahoo.com

          Re:     Second Cease and Desist Letter Concerning Promotion and Sale of Set-top
                  Boxes and Services

                  DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

   Dear Family Phone and Mohammad Rana:

            This law firm represents the Plaintiffs in the above referenced lawsuit against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava”).
   This lawsuit brought federal copyright and trademark infringement claims against Shava arising
   out of their distribution of numerous Arabic and South Asian-language channels in the United
   States.1




   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute the following channels
   that Shava is distributing in the United States: Aastha, Aastha Bhajan, Al Arabiya, Al Hayah 1, Al
   Jazeera Arabic News, Al Jazeera English, Al Jazeera Mubasher, ARY Digital, ARY News, ATN
   Bangla, B4U Music, B4U Movies, Banglavision, Boishakhi, Braem, Channel-i, Colors (Aapka
   Colors), Dunya TV, Geo News, Hum Masala, Hum Sitaray, Hum TV, Hum World HD, Iqraa,
   Jeem, LBC, Life OK, Masranga TV, MBC Action, MBC Drama, MTV Hindi (MTV India),
   Movies OK, Murr TV (MTV Lebanon), NDTV 24x7, New TV (Al Jadeed), NTV Bangla, OTV,
   SAB, Sahara One, SET Max, Sony SET, Star India Plus, Times Now, Zee Cinema, and Zee TV
   (collectively “Protected Channels”).
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 44 of 125 PageID# 2862
                                                                                                    Page 2



           We sent you correspondence on March 13, 2017 demanding that you cease promotion and
   sale of Shava TV set-top boxes and services. Shava is continuing to distribute the Protected
   Channels in the United States, infringing Plaintiffs’ copyrights in violation of court orders, and we
   again demand that you cease promotion and sale of these set-top boxes and services.

           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

            Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced decisions dated September 15, 2016 and January 6,
   2017. The permanent injunction enjoins them from further infringing Plaintiffs’ exclusive rights
   in their copyrights and trademarks. The order also awards plaintiffs $25,650,000 in damages under
   the Copyright Act.

           We are aware that you have been actively distributing and offering to the public Shava TV
   set-top boxes and services. Your promotion and sale of this set-top box and service that is
   distributing the Protected Channels constitutes secondary copyright infringement and is the type
   of illegal conduct the federal district court enjoined and prohibited in its April 25, 2016 and January
   24, 2017 orders.

           We demand that you take immediate action to cease all infringement of Plaintiffs’ rights,
   including without limitation, by ceasing to distribute, provide, or promote the Shava TV set-top-
   box and service or any other set-top box or service that distributes Plaintiffs’ Protected Channels
   in the United States. This letter is not a complete statement of Plaintiffs’ rights in connection with
   this matter, and nothing contained herein constitutes an express or implied waiver of any rights or
   remedies Plaintiffs may possess, all of which are expressly reserved.


                                                          Sincerely,

                                                          HAGAN NOLL & BOYLE LLC



                                                          ________________________________
                                                          Stephen M. Ferguson
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 45 of 125 PageID# 2863




            EXHIBIT 5
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 46 of 125 PageID# 2864



                                                               Two Memorial City Plaza
                                                                820 Gessner, Suite 940
                                                                Houston, Texas 77024
                                                                  Tel: 713.343.0478
                                                                  Fax: 713.758.0146
                                                                   www.hnbllc.com


   March 28, 2017

   VIA U.S. Mail

   ABC 74th Inc.
   37-65 74th St.
   Jackson Heights, NY 11372

          Re:     DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

                  DISH Network L.L.C. v. Lool Tech Co., Limited et al., Civil Action No.
                  4:16cv1771 (S.D. Tex.)

   Dear ABC 74th:

          This law firm represents the Plaintiffs in the above referenced lawsuits against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava,
   Cres”) and Lool Tech Co., Limited and Shenzhen Bilinren Technogloy Co., LTD, d/b/a Shenzhen
   Lool Tech Co., LTD (collectively “Lool”). These lawsuits brought federal copyright and
   trademark infringement claims against Shava, Cres, and Lool arising out of their distribution of
   numerous Arabic and South Asian-language channels in the United States.1




   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute numerous channels in
   the United States, including but not limited to the following that were at issue in the lawsuits: Aaj
   Tak, Aastha Bhajan, Al Hayah 1, Al Jazeera Arabic News, Al Jazeera English, Al Jazeera
   Mubasher, Al Jazeera Mubasher Misr, ARY Digital, ARY News, ATN Bangla, B4U Music, B4U
   Movies, Banglavision, Channel-i, Colors (Aapka Colors), Dream 2, Dunya TV, ESC, Express
   News, Future TV, Geo TV, Geo News, Headlines Today (India Today), Iqraa, Jaya TV, LBC, Life
   OK, MBC1, MBC Drama, MBC Kids (MBC3), MBC Masr, MH1, MTV Hindi (MTV India), Murr
   TV (MTV Lebanon), NBN, New TV (Al Jadeed), Nile Drama, Noursat, NTV Bangla, ONTV,
   OTV, Rishtey, SAB, SET Max, Sony SET, Star India Plus, Zee Cinema, and Zee TV (collectively
   “Protected Channels”).
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 47 of 125 PageID# 2865
                                                                                                 Page 2



           The purpose of this letter is to notify you of the court orders entered against Shava, Cres,
   and Lool, and to demand that you cease promotion and sale of all set-top boxes and services that
   distribute our clients’ Protected Channels in the United States.

           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

            Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced decisions dated September 15, 2016 and January 6,
   2017. The permanent injunction enjoins them from further infringing Plaintiffs’ exclusive rights
   in their copyrights and trademarks. The order also awards plaintiffs $25,650,000 in damages under
   the Copyright Act.

           Also enclosed is a copy of the order and permanent injunction entered against Lool by the
   United States District Court for the Southern District of Texas on March 17, 2017. Among other
   things, the permanent injunction enjoins Lool and any persons or entities, including dealers, acting
   in active concert or participation with them from distributing, providing, or promoting the Loolbox
   set-top box and service for as long as they are distributing any of the Protected Channels, as
   identified in the Court’s order. The order also awards $1,050,000 in damages under the Copyright
   Act.

           Promotion and sale of set-top boxes and services that are distributing the Protected
   Channels constitutes secondary copyright infringement and is the type of illegal conduct the
   federal district courts enjoined and prohibited in their April 25, 2016, January 24, 2017, and March
   17, 2017 orders.

           We demand that you take immediate action to cease all infringement of Plaintiffs’ rights,
   including without limitation, by ceasing to distribute, provide, or promote any set-top box or
   service that distributes our clients’ Protected Channels in the United States. This letter is not a
   complete statement of Plaintiffs’ rights in connection with this matter, and nothing contained
   herein constitutes an express or implied waiver of any rights or remedies Plaintiffs may possess,
   all of which are expressly reserved.

                                                        Sincerely,

                                                        HAGAN NOLL & BOYLE LLC


                                                        ________________________________
                                                        Stephen M. Ferguson
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 48 of 125 PageID# 2866



                                                              Two Memorial City Plaza
                                                               820 Gessner, Suite 940
                                                               Houston, Texas 77024
                                                                 Tel: 713.343.0478
                                                                 Fax: 713.758.0146
                                                                  www.hnbllc.com


   August 23, 2017

   VIA Email and U.S. Certified Mail

   ABC 1 NYC Inc.
   Attn: Nearaj Bhalla
   37-65 74th St.
   Jackson Heights, NY 11372
   abc74st@gmail.com

          Re:     Second Cease and Desist Letter Concerning Promotion and Sale of Set-top
                  Boxes and Services

                  DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

   Dear ABC 1 NYC and Nearaj Bhalla:

            This law firm represents the Plaintiffs in the above referenced lawsuit against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava”).
   This lawsuit brought federal copyright and trademark infringement claims against Shava arising
   out of their distribution of numerous Arabic and South Asian-language channels in the United
   States.1




   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute the following channels
   that Shava is distributing in the United States: Aastha, Aastha Bhajan, Al Arabiya, Al Hayah 1, Al
   Jazeera Arabic News, Al Jazeera English, Al Jazeera Mubasher, ARY Digital, ARY News, ATN
   Bangla, B4U Music, B4U Movies, Banglavision, Boishakhi, Braem, Channel-i, Colors (Aapka
   Colors), Dunya TV, Geo News, Hum Masala, Hum Sitaray, Hum TV, Hum World HD, Iqraa,
   Jeem, LBC, Life OK, Masranga TV, MBC Action, MBC Drama, MTV Hindi (MTV India),
   Movies OK, Murr TV (MTV Lebanon), NDTV 24x7, New TV (Al Jadeed), NTV Bangla, OTV,
   SAB, Sahara One, SET Max, Sony SET, Star India Plus, Times Now, Zee Cinema, and Zee TV
   (collectively “Protected Channels”).
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 49 of 125 PageID# 2867
                                                                                                    Page 2



           We sent you correspondence on March 28, 2017 demanding that you cease promotion and
   sale of Shava TV set-top boxes and services. Shava is continuing to distribute the Protected
   Channels in the United States, infringing Plaintiffs’ copyrights in violation of court orders, and we
   again demand that you cease promotion and sale of these set-top boxes and services.

           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

            Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced decisions dated September 15, 2016 and January 6,
   2017. The permanent injunction enjoins them from further infringing Plaintiffs’ exclusive rights
   in their copyrights and trademarks. The order also awards plaintiffs $25,650,000 in damages under
   the Copyright Act.

           We are aware that you have been actively distributing and offering to the public Shava TV
   set-top boxes and services. Your promotion and sale of this set-top box and service that is
   distributing the Protected Channels constitutes secondary copyright infringement and is the type
   of illegal conduct the federal district court enjoined and prohibited in its April 25, 2016 and January
   24, 2017 orders.

           We demand that you take immediate action to cease all infringement of Plaintiffs’ rights,
   including without limitation, by ceasing to distribute, provide, or promote the Shava TV set-top-
   box and service or any other set-top box or service that distributes Plaintiffs’ Protected Channels
   in the United States. This letter is not a complete statement of Plaintiffs’ rights in connection with
   this matter, and nothing contained herein constitutes an express or implied waiver of any rights or
   remedies Plaintiffs may possess, all of which are expressly reserved.


                                                          Sincerely,

                                                          HAGAN NOLL & BOYLE LLC



                                                          ________________________________
                                                          Stephen M. Ferguson
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 50 of 125 PageID# 2868




            EXHIBIT 6
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 51 of 125 PageID# 2869



                                                               Two Memorial City Plaza
                                                                820 Gessner, Suite 940
                                                                Houston, Texas 77024
                                                                  Tel: 713.343.0478
                                                                  Fax: 713.758.0146
                                                                   www.hnbllc.com


   March 27, 2017

   VIA U.S. Mail

   Worldwide Electronics
   2348 W. Devon Ave.
   Chicago, IL 60659

          Re:     DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

                  DISH Network L.L.C. v. Lool Tech Co., Limited et al., Civil Action No.
                  4:16cv1771 (S.D. Tex.)

   Dear Worldwide Electronics:

          This law firm represents the Plaintiffs in the above referenced lawsuits against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava,
   Cres”) and Lool Tech Co., Limited and Shenzhen Bilinren Technogloy Co., LTD, d/b/a Shenzhen
   Lool Tech Co., LTD (collectively “Lool”). These lawsuits brought federal copyright and
   trademark infringement claims against Shava, Cres, and Lool arising out of their distribution of
   numerous Arabic and South Asian-language channels in the United States.1




   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute numerous channels in
   the United States, including but not limited to the following that were at issue in the lawsuits: Aaj
   Tak, Aastha Bhajan, Al Hayah 1, Al Jazeera Arabic News, Al Jazeera English, Al Jazeera
   Mubasher, Al Jazeera Mubasher Misr, ARY Digital, ARY News, ATN Bangla, B4U Music, B4U
   Movies, Banglavision, Channel-i, Colors (Aapka Colors), Dream 2, Dunya TV, ESC, Express
   News, Future TV, Geo TV, Geo News, Headlines Today (India Today), Iqraa, Jaya TV, LBC, Life
   OK, MBC1, MBC Drama, MBC Kids (MBC3), MBC Masr, MH1, MTV Hindi (MTV India), Murr
   TV (MTV Lebanon), NBN, New TV (Al Jadeed), Nile Drama, Noursat, NTV Bangla, ONTV,
   OTV, Rishtey, SAB, SET Max, Sony SET, Star India Plus, Zee Cinema, and Zee TV (collectively
   “Protected Channels”).
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 52 of 125 PageID# 2870
                                                                                                 Page 2



           The purpose of this letter is to notify you of the court orders entered against Shava, Cres,
   and Lool, and to demand that you cease promotion and sale of all set-top boxes and services that
   distribute our clients’ Protected Channels in the United States.

           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

            Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced decisions dated September 15, 2016 and January 6,
   2017. The permanent injunction enjoins them from further infringing Plaintiffs’ exclusive rights
   in their copyrights and trademarks. The order also awards plaintiffs $25,650,000 in damages under
   the Copyright Act.

           Also enclosed is a copy of the order and permanent injunction entered against Lool by the
   United States District Court for the Southern District of Texas on March 17, 2017. Among other
   things, the permanent injunction enjoins Lool and any persons or entities, including dealers, acting
   in active concert or participation with them from distributing, providing, or promoting the Loolbox
   set-top box and service for as long as they are distributing any of the Protected Channels, as
   identified in the Court’s order. The order also awards $1,050,000 in damages under the Copyright
   Act.

           Promotion and sale of set-top boxes and services that are distributing the Protected
   Channels constitutes secondary copyright infringement and is the type of illegal conduct the
   federal district courts enjoined and prohibited in their April 25, 2016, January 24, 2017, and March
   17, 2017 orders.

           We demand that you take immediate action to cease all infringement of Plaintiffs’ rights,
   including without limitation, by ceasing to distribute, provide, or promote any set-top box or
   service that distributes our clients’ Protected Channels in the United States. This letter is not a
   complete statement of Plaintiffs’ rights in connection with this matter, and nothing contained
   herein constitutes an express or implied waiver of any rights or remedies Plaintiffs may possess,
   all of which are expressly reserved.


                                                        Sincerely,

                                                        HAGAN NOLL & BOYLE LLC


                                                        ________________________________
                                                        Stephen M. Ferguson
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 53 of 125 PageID# 2871




            EXHIBIT 7
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 54 of 125 PageID# 2872



                                                               Two Memorial City Plaza
                                                                820 Gessner, Suite 940
                                                                Houston, Texas 77024
                                                                  Tel: 713.343.0478
                                                                  Fax: 713.758.0146
                                                                   www.hnbllc.com


   March 13, 2017

   VIA Email and U.S. Mail

   Zee Sports
   Zahid Mahmood
   10756 Ambassador Dr., Ste. 201
   Manassas, VA 20109
   zeesportsinternational@gmail.com

          Re:     DISH Network L.L.C. et al. v. Shava IPTV Network LLC et al., Civil
                  Action No. 1:15cv706 (E.D. Va.)

   Dear Zee Sports and Zahid Mahmood:

          This law firm represents the Plaintiffs in the above referenced lawsuit against Shava IPTV
   Network LLC, Nadeem Butt, Imran Butt, and Naeem Butt, individually and together doing
   business as Shava TV, Cres IPTV, Iraa Enterprises, and Maple Electronics (collectively “Shava
   and Cres”). This lawsuit brought federal copyright and trademark infringement claims against
   Shava and Cres arising out of their distribution of numerous Arabic and South Asian-language
   channels in the United States.1

           The purpose of this letter is to notify you that Shava and Cres are continuing to distribute
   the Protected Channels in the United States, infringing Plaintiffs’ copyrights in violation of court
   orders, and to demand that you cease promotion and sale of these set-top boxes and services.



   1
    DISH Network L.L.C., Al Jazeera Media Network, Asia TV USA Ltd., B4U U.S. Inc., GEO USA
   LLC, Impress Telefilm, Inc., MBC FZ LLC, MSM Asia Ltd., Soundview Broadcasting LLC,
   Soundview ATN LLC, Star India Private Ltd., and Viacom 18 Media Private Limited (collectively
   “Plaintiffs”) own or control exclusive rights under copyright to distribute the following channels
   that Shava and Cres are distributing in the United States: Aaj Tak, Aastha Bhajan, Al Hayah 1, Al
   Jazeera Arabic News, Al Jazeera English, Al Jazeera Mubasher, Al Jazeera Mubasher Misr, ARY
   Digital, ARY News, ATN Bangla, B4U Music, B4U Movies, Banglavision, Channel-i, Colors
   (Aapka Colors), Dream 2, Dunya TV, ESC, Express News, Future TV, Geo TV, Geo News,
   Headlines Today (India Today), Iqraa, Jaya TV, LBC, Life OK, MBC1, MBC Drama, MBC Kids
   (MBC3), MBC Masr, MH1, MTV Hindi (MTV India), Murr TV (MTV Lebanon), NBN, New TV
   (Al Jadeed), Nile Drama, Noursat, NTV Bangla, ONTV, OTV, Rishtey, SAB, SET Max, Sony
   SET, Star India Plus, Zee Cinema, and Zee TV (collectively “Protected Channels”).
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                                                                                                  Page 2




           Enclosed please find a copy of the order and permanent injunction entered against Shava
   IPTV Network LLC and Nadeem Butt by the United States District Court for the Eastern District
   of Virginia on April 25, 2016. Among other things, the permanent injunction enjoins them and
   any persons or entities acting in active concert or participation with them from distributing,
   providing, or promoting Shava TV and Cres IPTV set-top boxes for as long as they are distributing
   any of the Protected Channels.

          Enclosed please also find a copy of the order and permanent injunction entered against
   Imran Butt and Naeem Butt by the United States District Court for the Eastern District of Virginia
   on January 24, 2017, as well as the referenced September 15, 2016 and January 6, 2017 report and
   recommendations. The permanent injunction enjoins them from further infringing Plaintiffs’
   exclusive rights in their copyrights and trademarks. The order also awards plaintiffs $25,650,000
   in damages under the Copyright Act.

           Shava and Cres listed you as a dealer on their websites, or we are otherwise aware that you
   have been actively distributing and offering to the public Shava TV or Cres IPTV set-top boxes
   and services. Your promotion and sale of these set-top boxes and services that are distributing the
   Protected Channels constitutes secondary copyright infringement and is the type of illegal conduct
   the federal district court enjoined and prohibited in its April 25, 2016 and January 24, 2017 orders.
   Your continued sale of Shava TV or Cres IPTV set-top-boxes and services may subject you to
   monetary liability and potentially court orders, including an order holding you in contempt of
   court.

           We demand that you take immediate action to ensure that you do not distribute, provide,
   or promote Shava TV or Cres IPTV set-top boxes and services or any other set-top box or service
   that distributes our clients’ Protected Channels in the United States.


                                                         Sincerely,

                                                         HAGAN NOLL & BOYLE LLC



                                                         ________________________________
                                                         Stephen M. Ferguson
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            EXHIBIT 8
                          Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 57 of 125 PageID# 2875




Home >  Whois Lookup >  sHavaTv.com



Whois Record               for sHavaTv.com


            Find out more about Project Whois and DomainTools for Windows.




 Whois & Quick Stats

Risk Score          5                                                                                                   

Email               whois@accountsupport.com is associated with ~327 domains                                           
                    support@accountsupport-inc.om is associated with ~2,690 domains

Registrant Org      DOMAIN PRIVACY SERVICE FBO REGISTRANT was found in ~1,447,773 other domains                         

Registrar           FastDomain, Inc.

Registrar Status clientTransferProhibited

Dates               Created on 2010-12-20 - Expires on 2017-12-20 - Updated on 2016-12-04                               

Name Server(s)      NS1.ACCOUNTSUPPORT.COM (has 27,081 domains)                                                        
                    NS2.ACCOUNTSUPPORT.COM (has 27,081 domains)

IP Address          65.254.227.240 - 110,298 other sites hosted on this server                                          

IP Location             - Massachusetts - Burlington - The Endurance International Group Inc.

ASN                     AS29873 BIZLAND-SD - The Endurance International Group, Inc., US (registered May 23, 2003)

Domain Status       Registered And Active Website

Whois History       108 records have been archived since 2010-12-21                                                     

IP History          13 changes on 10 unique IP addresses over 7 years                                                   

Registrar           2 registrars with 1 drop                                                                            
History

Hosting History     3 changes on 4 unique name servers over 7 years                                                     

Whois Server        whois.fastdomain.com
                        Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 58 of 125 PageID# 2876
 Website

Website Title          ShavaTV | Best Internet Android TV Box                                                     

Response Code     200

SEO Score         85%

Terms             292 (Unique: 179, Linked: 122)

Images            16 (Alt tags missing: 14)

Links             75   (Internal: 48, Outbound: 9)

Whois Record ( last updated on 2017-10-02 )


 Domain Name: SHAVATV.COM
 Registry Domain ID: 1631111234_DOMAIN_COM-VRSN
 Registrar WHOIS Server: whois.fastdomain.com
 Registrar URL: http://www.accountsupport.com/
 Updated Date: 2016-12-04T13:38:32Z
 Creation Date: 2010-12-20T04:12:08Z
 Registrar Registration Expiration Date: 2017-12-20T04:12:08Z
 Registrar: FastDomain Inc.
 Registrar IANA ID: 1154
 Registrar Abuse Contact Email: support@accountsupport-inc.om
 Registrar Abuse Contact Phone: +1.8017659400
 Reseller: AccountSupport Hosting
 Domain Status: clientTransferProhibited (https://www.icann.org/epp#clientTransferProhibited)
 Registry Registrant ID: FAST-15019473
 Registrant Name: DOMAIN PRIVACY SERVICE FBO REGISTRANT
 Registrant Organization:
 Registrant Street: 70 BLANCHARD ROAD
 Registrant City: BURLINGTON
 Registrant State/Province: MASSACHUSETTS
 Registrant Postal Code: 01803
 Registrant Country: US
 Registrant Phone: +1.8666424678
 Registrant Phone Ext:
 Registrant Fax:
 Registrant Fax Ext:
 Registrant Email: whois@accountsupport.com
 Registry Admin ID: FAST-15019473
 Admin Name: DOMAIN PRIVACY SERVICE FBO REGISTRANT
 Admin Organization:
 Admin Street: 70 BLANCHARD ROAD
 Admin City: BURLINGTON
 Admin State/Province: MASSACHUSETTS
 Admin Postal Code: 01803
 Admin Country: US
 Admin Phone: +1.8666424678
 Admin Phone Ext:
 Admin Fax:
 Admin Fax Ext:
 Admin Email: whois@accountsupport.com
 Registry Tech ID: FAST-15019473
 Tech Name: DOMAIN PRIVACY SERVICE FBO REGISTRANT
                        Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 59 of 125 PageID# 2877
 Tech Organization:
 Tech Street: 70 BLANCHARD ROAD
 Tech City: BURLINGTON
 Tech State/Province: MASSACHUSETTS
 Tech Postal Code: 01803
 Tech Country: US
 Tech Phone: +1.8666424678
 Tech Phone Ext:
 Tech Fax:
 Tech Fax Ext:
 Tech Email: whois@accountsupport.com
 Name Server: NS1.ACCOUNTSUPPORT.COM
 Name Server: NS2.ACCOUNTSUPPORT.COM
 DNSSEC: unsigned
 URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/




Tools

                                                                    Whois History

                                                                   Hosting History

Monitor Domain Properties                                                                                      

Reverse Whois Lookup                                                                                           

Reverse IP Address Lookup                                                                                      

Reverse Name Server Lookup                                                                                     

Network Tools                                                                                                  

                                                                  Buy This Domain 

                                                                    Visit Website



                                                            Preview the Full Domain Report
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            EXHIBIT 9
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         EXHIBIT 10
Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 63 of 125 PageID# 2881
                                                           

                                                                   About us | Contact us | Press | Media | Worldwide




   Buy Online Canada You are here:    Home / Buy Online / Buy Online Canada / ShavaTV America /Shava MX America




                                              Shava MX America                                                Sale!

           Buy Shava
            Plus Box                          ∙   $169
                               
                                              Package Contents

                                              1- Shava Box
                                              2- Remote Control
                                              3- RCA Cable
                                              4- HDMI Cable
                                              5- Eithernet Cable
                                              6-Power Adapter
                                              7- Wi Antenna


                                                   -       1       +           Add to cart




                                              Category: ShavaTV America.




                                                  Description


                                                  Product Description
                                                  ShavaTV o ers an absolute entertainment interface for
                                                  your family which is invincible . ShavaTV Plus also
                                                  provides you the luxury to select the shows of your
                                                  choice through our world class service such as VOD PLUS
                                                  .

                                                  Note : your order and payment may be processed
                                                  through a third party local dealer or distributor.
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   Related Products




     Wi Antenna
     $10



       Add to     Show
        cart       Details




   © Copyright - ShavaTV - SHAVATV |Privacy | Terms of use
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         EXHIBIT 11
   Case 1:15-cv-00706-TSE-IDD Document 130-1 Filed 10/24/17 Page 66 of 125 PageID# 2884



Home (http://www.zeesports.biz/index.php/)      Accessories (http://www.zeesports.biz/index.php/accessories.html)      Misc. Accessories

(http://www.zeesports.biz/index.php/accessories/misc-accessories.html)     Shava MX




   (http://www.zeesports.biz/media/catalog/product/cache/1/image/fe1b14027ff9f196e220f58ebd707154/s/h/shava-tv-hd-
   plus-giftbox-1000x1000.jpg)




                 (http://www.zeesports.biz/media/catalog/product/s/h/shava-
                 tv-hd-plus-giftbox-1000x1000.jpg)

            
      Shava        MX
      (http://www.zeesports.biz/index.php/accessories/misc-
            (http://www.zeesports.biz/index.php/accessories/misc-
      accessories/jadoo-
            accessories/zee-
      Be the rst to review this product (http://www.zeesports.biz/index.php/review/product/list/id/235/category/73/#review-
      tab- sports-
      form)

      8gb.html)
            arm-
            guard.html)
      $279.99                                                                                              Availability: In stock
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    Excl. Tax:   $179.99
   Qty: 1                BUY          
                                            (http://www.zeesports.biz/index.php/catalog/product_compare/add/product/235/uenc/aHR0cD
                                                    (http://www.zeesports.biz/index.php/sendfriend/product/send/id/235/cat_id/73/)

                                     (http://www.zeesports.biz/index.php/wishlist/index/add/product/235/)




   Quick Overview
   Description: Attention Customers: The Latest Version Shava TV Plus comes with built in WiFi inst..




PRODUCT DESCRIPTION




Attention Customers:
The Latest Version Shava TV Plus comes with built in WiFi instead of external USB WiFi.

Shava TV HD Max IPTV allows you to Watch FREE South Asian and Middle Eastern channels on your Television while the ShavaTV
device wireless connects to your internet router. Shava requires minimum 2MB internet speed. Shava TV HD Max receiver
supports1080p High De nition. As technology is fast changing and when channels go HD  this box can handle  better picture
resolution for years to come. If your looking to watch Indian, Pakistani, Arabic, Pashto, Persian, Bangladeshi, African, Somalian,
Turkish, Kurdish and English channels the ShavaTV media box is what your looking for.

ShavaTV = No Contracts = No Subscriptions = FREE Indian & Pakistani channels.

No Satellite Dish Required! All you need is High Speed Internet. Takes minutes to setup, very easy to use.

Press and Play - Just press the channel number  Only ShavaTV gives you the feel of real TV. Just directly go to your desired channel -
no need of moving the cursor right or left all the time!

Make it a PVR - Now you can make ShavaTV box a PVR (Personal Video Recorder) to watch and record live shows. You need to add a
SATA Hard Drive of 2-1/2" size, (purchase seperately) inside the ShavaTV Box, by opening the bottom cover.

Quality that stands out - better processing engine gives you better quality. You can Watch up to 1080P HD Picture and Listen to the
Audio in True HD Dolby Sound

Bigger is better - bigger box that can work for longer hours without getting hot. Bigger remote control with ease of handling and
using.

Wired or Wireless connectivity. WorldWideSatellites recommends to wire your ShavaTV HD Max for best results however wireless
is a good option if your within 100ft from your internet modem router. If you want better wireless performace with your Shava TV
media box we highly recommend Ethernet Powerline Bridge which gives 30% more speed versus Wireless WiFi.
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Easy to use Graphic User Interface that lets you ow from one option to another, with out any hassle.

Watch Movies or shows not only from Bollywood but also from Lollywood and other Regions.
Shava TV HD Max  IP TV Features:
 Youtube Videos
 Indian & Pakistani Movies/Drama's (Hollywood / Bollywood)
 Personal Media
 Live Shows & Events
 PVR Ready (install a hard-drive to start recording)
 Wireless (Included) or Wired Connection to internet
 No Monthly Fee's
 No Dish Required
 Plug N Play. Easy to use
 LED Screen letting you know what channel
 Better Picture Quality compared to older model
 Better Remote Control compared to older model

 Shava TV HD Max Media Box
 Shava Remote Control
 RCA Cable
 HDMI Cable
 Wireless N Adapter
 Power Adapter




  RELATED PRODUCTS                                                                                                          
 
 
Check items to add to the cart or select all



                                               SALE   NEW                                            SALE
                                                                                                      




  (http://www.zeesports.biz/index.php/ca-plus-        (http://www.zeesports.biz/index.php/new-              (http://www.zeesports.bi
  15000-english-willow-bat.html)                      balance-tc-limited-edition-cricket-bat.html)          cricket-box-shorts-mens-
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         EXHIBIT 12
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   Case                     Document
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    1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2           The Court has considered the Motion for Default Judgment and Permanent
    3   Injunction of Plaintiffs China Central Television (“CCTV”), China International
    4   Communications Co., Ltd. (“CICC”), TVB Holdings (USA), Inc. (“TVB (USA)”),
    5   and DISH Network L.L.C. (“DISH”) (collectively, “Plaintiffs”), against Defendants
    6   Create New Technology (HK) Limited and Hua Yang International Technology
    7   Limited (“Defendants”) and all documents in support thereof. Good cause
    8   appearing to enter the requested relief, IT IS HEREBY ORDERED that Plaintiffs’
    9   Motion is GRANTED, and Judgment shall be and hereby is entered against
   10   Defendants in this action as follows:
   11           1.       For purposes of this Default Judgment and Permanent Injunction, the
   12   following definitions shall apply:
   13                    a.       “Plaintiffs’ Copyrighted Programming” shall mean each of those
   14           broadcast television programming works, or portions thereof, whether now in
   15           existence or later created, in which the Plaintiffs, or any of them (or any
   16           parent, subsidiary, or affiliate of any of the Plaintiffs), owns or controls an
   17           exclusive right under the United States Copyright Act, 17 U.S.C. §§ 101 et
   18           seq., including without limitation all copyrighted programs identified in
   19           Exhibit A hereto;
   20                    b.       “TVpad Device” shall mean the television set-top devices
   21           marketed as TVpad3 and TVpad4, and any other set-top devices that offer for
   22           download or allow use of the Infringing TVpad Apps;
   23                    c.       “TVpad Store” shall mean any combination of software and/or
   24           services whereby users can select and download software applications onto
   25           the TVpad Device;
   26                    d.       “TVpad Apps” shall mean software applications and associated
   27           services that are designed for use on the TVpad Device and available for
   28           download through the TVpad Store;
                                                                              DAVIS WRIGHT TREMAINE LLP
                                                             1                   865 S FIGUEROA ST, SUITE 2400
                                                                              LOS ANGELES, CALIFORNIA 90017-2566
        [Proposed] Order Granting Default Judgment and Permanent Injunction               (213) 633-6800
                                                                                        Fax: (213) 633-6899
        DWT 28165737v1 0094038-000021
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    1                    e.       “Infringing TVpad Apps” shall mean any TVpad App or similar
    2           application whereby Plaintiffs’ Copyrighted Programming is publicly
    3           performed without authorization by transmission to members of the public,
    4           including but not limited to the TVpad Apps identified in Exhibit B hereto;
    5                    f.       “TVpad Service” shall mean transmission of Plaintiffs
    6           Copyrighted Programming through the TVpad Device and the Infringing
    7           TVpad Apps;
    8                    g.       “Comparable System” shall mean any device, data transmission
    9           service or application that provides users unauthorized access to Plaintiffs’
   10           Copyrighted Programming, using any peer to peer or internet based
   11           transmission, file sharing or content delivery technology;
   12                    h.       “TVpad Websites” shall mean the websites located at the domain
   13           names itvpad.com, mtvpad.com and tvpadfans.com and any other websites
   14           maintained by Defendants or pursuant to their direction, that distribute, sell,
   15           advertise or promote any TVpad Device, the TVpad Service, or any
   16           Comparable System, or are otherwise utilized in furtherance of any of the
   17           activities enjoined in Paragraphs 9, 10 and 13 hereinbelow;
   18                    i.       “CCTV Marks” shall mean the word marks “CCTV” and “CCTV
   19           AMERICA” and the stylized CCTV logo, and the design mark “CCTV
   20           AMERICA” registered with the U.S. Patent and Trademark Office,
   21           Application Serial No. 86239098;
   22                    j.        “TVB Marks” shall mean (a) the word mark JADE (U.S. Serial
   23           No. 76406416); (b) the JADE logo (U.S. Serial No. 76445114 and U.S.
   24           Application Serial No. 86171201); (c) the word mark TVB (U.S. Application
   25           Serial No. 86171162); and the Chinese-language word mark for THE JADE
   26           CHANNEL (U.S. Serial No. 76407746); and
   27                    k.       “Plaintiffs’ Marks” shall mean the CCTV Marks and TVB
   28           Marks.
                                                                              DAVIS WRIGHT TREMAINE LLP
                                                             2                   865 S FIGUEROA ST, SUITE 2400
                                                                              LOS ANGELES, CALIFORNIA 90017-2566
        [Proposed] Order Granting Default Judgment and Permanent Injunction               (213) 633-6800
                                                                                        Fax: (213) 633-6899
        DWT 28165737v1 0094038-000021
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    1           2.       This Court has personal jurisdiction over Defendants and jurisdiction
    2   over the subject matter at issue pursuant to 28 U.S. C. §§ 1331, 1338 and 1367, as
    3   well as 15 U.S.C. § 1121(a). This Court has continuing jurisdiction to enforce the
    4   terms and provisions of this Default Judgment and Permanent Injunction.
    5           3.       Plaintiffs’ copyrights in Plaintiffs’ Copyrighted Programming are valid
    6   and enforceable.
    7           4.       Plaintiffs’ Marks are valid and enforceable.
    8           5.       Defendants have committed and continue to commit the following acts:
    9                    a.       transmitting video of Plaintiffs’ Copyrighted Programming into
   10           the United States without authorization through the TVpad Device and
   11           Infringing TVpad Apps;
   12                    b.       retransmitting Plaintiffs’ Copyrighted Programming to TVpad
   13           users, capturing television programs and converting them to Internet-friendly
   14           formats, streaming such content using peer-to-peer technology, directly
   15           streaming content to the United States, and making and storing copies of
   16           Plaintiffs’ Copyrighted Programming for later playback at the request of
   17           TVpad users;
   18                    c.       unlawfully publicly performing and/or authorizing others to
   19           publicly perform Plaintiffs’ Copyrighted Programming;
   20                    d.       unlawfully reproducing and distributing and/or authorizing others
   21           to reproduce and distribute Plaintiffs’ Copyrighted Programming;
   22                    e.       unlawfully publicly displaying and/or authorizing others to
   23           publicly display Plaintiffs’ Copyrighted Programming in the United States;
   24                    f.       marketing the availability of Plaintiffs’ Copyrighted
   25           Programming through the TVpad Device and Infringing TVpad Apps;
   26                    g.       manufacturing, distributing, maintaining and marketing the
   27           TVpad Service, the TVpad device and the TVpad Store, and Infringing TVpad
   28           Apps, all with the object of promoting their use to infringe Plaintiffs’
                                                                                DAVIS WRIGHT TREMAINE LLP
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        [Proposed] Order Granting Default Judgment and Permanent Injunction                (213) 633-6800
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    1           Copyrighted Programming, thereby knowingly and intentionally inducing
    2           infringement of Plaintiffs’ Copyrighted Programming and materially
    3           contributing to the continued infringement of Plaintiffs’ Copyrighted
    4           Programming by third parties;
    5                    h.       continuing the acts detailed in ¶¶ 5(a)-(g) above after receiving
    6           cease and desist letters from Plaintiffs, after the commencement of this action
    7           and after and in violation of the Preliminary Injunction Order in this action
    8           [Dkt. No. 98]; and
    9                    i.       using Plaintiffs’ Marks to advertise the TVpad Service and falsely
   10           representing that Plaintiffs have authorized the streaming of their television
   11           programming on the TVpad, creating consumer confusion regarding Plaintiffs’
   12           relationship, authorization, sponsorship and affiliation with Defendants’
   13           products and services.
   14           6.       Defendants’ acts constitute:
   15                    a.       direct infringement, contributory infringement and vicarious
   16           infringement of Plaintiffs’ Copyrighted Programming in violation of the
   17           Copyright Act, 17 U.S.C. § 101 et seq.;
   18                    b.       federal trademark infringement and unfair competition under the
   19           Lanham Act, 15 U.S.C. § 1125(a);
   20                    c.       common law trademark infringement and unfair competition; and
   21                    d.       violation of California Business and Professions Code § 17200 et
   22           seq.
   23           7.       Defendants are ordered to pay damages to Plaintiffs in the amount of
   24   $326,360,691.
   25           8.       Defendants are ordered to pay Plaintiffs’ attorneys fees in the amount of
   26   $___________, and post-judgment interests, pursuant to 28 U.S.C. § 1961(a), “at a
   27   rate equal to the weekly average 1-year constant maturity Treasury yield, as
   28
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    1   published by the Board of Governors of the Federal Reserve System, for the
    2   calendar week preceding the date of the judgment.”
    3           9.       Defendants, and all of their parents, subsidiaries, affiliates, officers,
    4   agents, servants and employees, and all those persons or entities acting in active
    5   concert or participation with Defendants (including but not limited to parties that
    6   procure or provide sales, distribution, shipping or logistics services, primary and
    7   backup storage services, or web, server or file hosting services on behalf of
    8   Defendants, including but not limited to those parties listed in Exhibits C and D)
    9   and all persons and entities who receive actual notice of this Order (collectively, the
   10   “Enjoined Parties”) are immediately and permanently enjoined from engaging in any
   11   of the following activities:
   12                    a.       Distributing, selling, advertising, marketing or promoting any
   13           TVpad Device;
   14                    b.       Transmitting, retransmitting, assisting in the transmission of,
   15           requesting transmission of, streaming, hosting or providing unauthorized
   16           access to, or otherwise publicly performing, directly or indirectly, by means of
   17           any device or process, Plaintiffs’ Copyrighted Programming;
   18                    c.       Authorizing, hosting, reproducing, downloading, selling or
   19           otherwise distributing the Infringing TVpad Apps, including without
   20           limitation offering them in the TVpad Store, loading them onto any TVpad
   21           Device or any Comparable System, offering or providing them on Internet
   22           websites, or providing the Infringing TVpad Apps to consumers on separate
   23           media;
   24                    d.       Creating or providing assistance to others who wish to create an
   25           Infringing TVpad App;
   26                    e.       Advertising, displaying, marketing or otherwise promoting any of
   27           the Infringing TVpad Apps, including without limitation publicly displaying
   28           any of the Plaintiffs’ Copyrighted Programming in connection therewith or in
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    1           connection with the TVpad Device or any Comparable System, including
    2           without limitation via the TVpad Websites;
    3                    f.       Distributing, selling, advertising, marketing or promoting any
    4           TVpad Device that contains, connects to, or offers for download any
    5           Infringing TVpad App, or promotes any Infringing TVpad App through the
    6           inclusion of icons for said Infringing TVpad App;
    7                    g.       Distributing, selling, advertising, marketing or promoting any
    8           TVpad Device that contains, connects to, offers for download, transmits,
    9           assists in the transmission of, streams, hosts, provides access to, or otherwise
   10           publicly performs, directly or indirectly, by means of any devise of process,
   11           Plaintiffs’ Copyrighted Programming without permission;
   12                    h.       Distributing, selling, advertising, marketing or promoting any
   13           Comparable System that contains, connects to, offers for download, transmits,
   14           assists in the transmission of, streams, hosts, provides access to, or otherwise
   15           publicly performs, directly or indirectly, by means of any devise of process,
   16           Plaintiffs’ Copyrighted Programming without permission;
   17                    i.       Providing or controlling servers which contain any of Plaintiffs’
   18           Copyrighted Programming; and
   19                    j.       Assisting with end-user reproductions or transmissions of any of
   20           Plaintiffs’ Copyrighted Programming through a tracker server, or any other
   21           server or software that assists users or devices in locating, identifying or
   22           obtaining reproductions or transmission of any of Plaintiffs’ Copyrighted
   23           Programming, including from other users offering reproductions or
   24           transmissions of any of Plaintiffs’ Copyrighted Programming;
   25                    k.       Otherwise infringing Plaintiffs’ rights in their Copyrighted
   26           Programming, whether directly, contributorily, vicariously or in any other
   27           manner.
   28
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    1           10.      The Enjoined Parties are further immediately and permanently enjoined
    2   from engaging in any activities having the object or effect of fostering infringement
    3   of Plaintiffs’ Copyrighted Programming, whether through the Infringing TVpad
    4   Apps or otherwise, including without limitation engaging in any of the following
    5   activities:
    6                    a.       Advertising or promoting unauthorized access to or the
    7           availability of Plaintiffs’ Copyrighted Programing;
    8                    b.       Encouraging or soliciting others to transmit or reproduce
    9           Plaintiffs’ Copyrighted Programming;
   10                    c.       Encouraging or soliciting others to upload, post or index any files
   11           that constitute, correspond, point or lead to any of Plaintiffs’ Copyrighted
   12           Programming;
   13                    d.       Encouraging or soliciting others to offer transmission of
   14           Plaintiffs’ Copyrighted Programming;
   15                    e.       Providing technical assistance, support services or servers to
   16           others engaged in infringement of, or seeking to infringe, Plaintiffs’
   17           Copyrighted Programming;
   18                    f.       Creating, maintaining, highlighting or otherwise providing access
   19           to lists or forums that include, refer to or signal the availability of Plaintiffs’
   20           Copyrighted Programming;
   21                    g.       Including references to Plaintiffs’ Copyrighted Programming or
   22           the Infringing TVpad Apps in promotional materials; and
   23                    h.       Creating, maintaining or providing access to the Infringing
   24           TVpad Apps.
   25           11.      The Enjoined Parties shall not enter into any agreement or transaction
   26   whatsoever to sell, lease, license, assign, convey, distribute, loan, encumber, pledge
   27   or otherwise transfer, whether or not for consideration or compensation, any part of
   28   the system, software, source code, data file, other technology, domain names,
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    1   trademarks, brands, or files used in connection with the TVpad Device, Infringing
    2   TVpad Apps or any Comparable System.
    3           12.        Defendants shall identify to Plaintiffs all domain names and IP
    4   addresses and the physical locations of all servers owned, leased or operated by any
    5   of the Enjoined Parties that are used in connection with the activities enjoined under
    6   Paragraphs 9 and 10, above, within 7 days of the entry of this Permanent Injunction.
    7           13.      Further, the Enjoined Parties are immediately and permanently enjoined
    8   from engaging in any of the following activities:
    9                    a.       Using the CCTV or TVB Marks, or any other mark, design
   10           reproduction, copy or symbol that is a colorable imitation thereof, or
   11           confusing similar thereto, in connection with broadcasting or entertainment
   12           services, or related goods or services, not originating from or authorized by
   13           Plaintiffs;
   14                    b.       Using the CCTV or TVB Marks, or any other mark, design
   15           reproduction, copy or symbol that is a colorable imitation thereof, in any
   16           manner likely to cause confusion, to cause mistake, or to deceive the
   17           consuming public;
   18                    c.       Representing in any manner, or by any method whatsoever, that
   19           goods and services provided by the Enjoined Parties are licensed, sponsored,
   20           approved, authorized by, or originate from Plaintiffs or otherwise taking any
   21           action likely to cause confusion, mistake, or deception as to the origin,
   22           approval, sponsorship or license of such goods or services;
   23                    d.       Committing any acts calculated or likely to cause consumers to
   24           believe that the Enjoined Parties’ products and services are authorized by
   25           Plaintiffs;
   26                    e.       Infringing or diluting, whether directly or indirectly, the
   27           distinctive quality of the CCTV Marks or the TVB Marks; and
   28                    f.       Unfairly competing with Plaintiffs in any manner.
                                                                                 DAVIS WRIGHT TREMAINE LLP
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    1           14.      As the Court has personal jurisdiction over Defendants and has
    2   concluded that the conduct of Defendants induces infringement of Plaintiffs’
    3   Copyrighted Programming in the United States under the copyright laws of the
    4   United States and infringes the CCTV Marks and TVB Marks under the trademark
    5   laws of the United States, this Permanent Injunction enjoins the conduct of
    6   Defendants wherever they may be found.
    7           15.      Third parties who provide sales, distribution, shipping or logistics
    8   services for the TVpad Device, including but not limited to the third party
    9   distributors identified in Exhibit D hereto, and who receive actual notice of this
   10   Order, are immediately and permanently enjoined from distributing, selling,
   11   advertising, marketing or promoting any TVpad Device and from providing any
   12   other services enjoined in Paragraphs 9, 10 and 13 hereinabove.
   13           16.      Third parties providing web, server and file hosting services, data
   14   center and colocation services, and primary and backup storage services (including
   15   but not limited to cloud storage services) used in connection with the activities
   16   enjoined under Paragraphs 9, 10 and 13 hereinabove, including but not limited to the
   17   third parties providing hosting services for the Internet servers identified in Exhibit
   18   C hereto (including but not limited to servers providing streaming video,
   19   application files, TVpad Store functionality, and TVpad Device initialization,
   20   operation and authentication) and who receive actual notice of this Order, are
   21   immediately and permanently enjoined from providing such hosting services to (i)
   22   any Enjoined Parties in connection with the activities enjoined under Paragraphs 9,
   23   10 and 13 hereinabove; (ii) any server, IP address, domain name or website used in
   24   conjunction with the TVpad Device, Infringing TVpad Apps or any Comparable
   25   System; and (iii) the TVpad Websites.
   26           17.      Third parties providing services used in connection with the activities
   27   enjoined under Paragraphs 9, 10 and 13 hereinabove, including but not limited to
   28   back-end service providers, service providers routing traffic or providing bandwidth,
                                                                              DAVIS WRIGHT TREMAINE LLP
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    1   content delivery networks and domain name server systems (including but not
    2   limited to CloudFlare and DNSPod), search-based online advertising services (such
    3   as through paid inclusion, paid search results, sponsored search results, sponsored
    4   links, and Internet keyword advertising), domain name registration privacy
    5   protection services, providers of social media services (including but not limited to
    6   Facebook and Twitter), user generated and online content services (including but not
    7   limited to YouTube) and data security services (including but not limited to denial-
    8   of-service attack prevention, firewall and proxy services), who receive actual notice
    9   of this Order are permanently enjoined from providing such services to: (i) any
   10   Enjoined Parties in connection with the activities enjoined under Paragraphs 9, 10
   11   and 13 hereinabove; (ii) any server, IP address, domain name or website used in
   12   conjunction with the TVpad Device, Infringing TVpad Apps or any Comparable
   13   System; and (iii) the TVpad Websites.
   14           18.      The domain name registries (including but not limited to VeriSign, Inc.)
   15   and/or registrars holding or listing the domain names itvpad.com, mtvpad.com or
   16   tvpadfans.com or one or more of the domain names used in connection with the
   17   activities enjoined under Paragraphs 9, 10 and 13 hereinabove (including but not
   18   limited to the domain names identified in Exhibit C hereto), and who receive actual
   19   notice of this Order, shall (1) temporarily disable these domain names, or any subset
   20   of these domain names specified by Plaintiffs, through a registry hold or otherwise,
   21   and make them inactive and non-transferable; and (2) at the direction of Plaintiffs,
   22   transfer these domain names to Plaintiffs’ ownership and control, including, inter
   23   alia, by changing the registrar of record to the registrar of Plaintiffs’ choosing.
   24           19.      Service by mail upon Defendants of a copy of this Default Judgment
   25   and Permanent Injunction once entered by the Court is deemed sufficient notice to
   26   Defendants under Federal Rule of Civil Procedure 65. It shall not be necessary for
   27   Defendants to sign any form of acknowledgement of service.
   28
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                                                                         David J. Bradley, Clerk
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         EXHIBIT 14
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         Attorneys for Plaintiffs
     9   SHOWTIME NETWORKS INC.,
         HOME BOX OFFICE, INC.,
   10    MAYWEATHER PROMOTIONS, LLC, and
         TOP RANK, INC.
   11
                              UNITED STATES DISTRICT COURT
   12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   13
                                       WESTERN DIVISION
   14
   15
         SHOWTIME NETWORKS INC.,                  Case No. 2:15-CV-03147-GW-MRW
   16    HOME BOX OFFICE, INC.,
         MAYWEATHER PROMOTIONS,
   17    LLC, and TOP RANK, INC.,
                                                  TEMPORARY RESTRAINING
   18                Plaintiffs,                  ORDER AND ORDER TO SHOW
   19          v.                                 CAUSE WHY A PRELIMINARY
                                                  INJUNCTION SHOULD NOT
   20    _________________                        ISSUE
         JOHN DOE 1 d/b/a boxinghd.net,
   21    JOHN DOE 2 d/b/a sportship.org and
         d/b/a “Carlo Magno”, and JOHN
   22    DOES 3-10 inclusive,
   23
                     Defendants.
   24
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         TEMPORARY RESTRAINING ORDER                                             -1-
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     1         This matter came before the Court on the ex parte application for a Temporary
     2   Restraining Order and to Show Cause why a Preliminary Injunction Should not Issue,
     3   filed by plaintiffs Showtime Networks, Inc., Home Box Office, Inc., Mayweather
     4   Promotions, LLC and Top Rank, Inc. (collectively “Plaintiffs”. The Court has
     5   considered the papers submitted by Plaintiffs and, finding good cause, hereby
     6   GRANTS Plaintiffs’ application.
     7         The Court finds that Plaintiffs have satisfied the requirements for a temporary
     8   restraining order and an order to show cause why a preliminary injunction should not
     9   issue. Plaintiffs have established that they are likely to succeed on the merits of their
   10    claims. Plaintiffs have established that that they jointly own the exclusive rights to,
   11    among other things, reproduce and transmit the coverage of the May 2, 2015 fight
   12    between Manny Pacquiao and Floyd Mayweather, including the two undercard bouts
   13    (the “Coverage”) within the United States and elsewhere. Plaintiffs properly served
   14    Defendants with the Advance Notice of Potential Infringement required by 17 U.S.C.
   15    § 411(c) and 37 C.F.R. § 201.22 more than forty-eight hours before the May 2, 2015
   16    fight and intend to register the copyright in the Coverage, as joint authors, within
   17    three months after May 2, 2015. The Coverage will be protected under the Copyright
   18    Act as it is fixed in a tangible medium of expression simultaneously with its initial
   19    transmission.
   20          Plaintiffs have presented compelling evidence that Defendants intend to
   21    provide an unauthorized stream of the Coverage through the websites <boxinghd.net>
   22    and <sportship.org> (the “Infringing Websites”). Plaintiffs have presented screen
   23    shots in which Defendants represent that they intend to provide an unauthorized
   24    online stream of the live Coverage as it its initially transmitted. Plaintiffs have also
   25    presented evidence that Defendants have offered unauthorized online streams of prior
   26    boxing matches. Defendants have not responded to Plaintiffs' Advance Notice of
   27    Potential Infringement. If Defendants were to proceed with their anticipated
   28    unauthorized stream of the Coverage, they would violate exclusive rights owned by

         TEMPORARY RESTRAINING ORDER                                                     -2-
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     1   Plaintiffs under the Copyright Act, including without limitation the exclusive rights
     2   of reproduction and public performance.
     3         Plaintiffs have presented evidence that Defendants rely on various third party
     4   service providers to keep the Infringing Websites online. These service providers
     5   include but are not limited to Namecheap.com, Inc., Enom, Inc. and Hostwinds, LLC.
     6         Plaintiffs have established that they will suffer irreparable harm in the absence
     7   of immediate relief. Among other things, Defendants’ threatened infringement would
     8   strip Plaintiffs of the critical right of first transmission and publication of an
     9   extremely valuable live sporting event, would interfere with Plaintiffs’ relationships
   10    with third parties, is likely to damage Plaintiffs’ goodwill among consumers, and will
   11    deprive Plaintiffs of revenue that will be difficult or impossible to calculate, but is
   12    likely far in excess of any amount that Defendants could repay to Plaintiffs in
   13    damages even if the amount could be calculated.
   14          The balance of equities also tips sharply in Plaintiffs’ favor. The Court is not
   15    aware of any legitimate interest of Defendants that would be damaged by Plaintiffs’
   16    requested injunction.
   17          An injunction is also in the public interest because it will effectuate the policy
   18    and purpose of the Copyright Act to protect intellectual property rights and to
   19    incentivize the creation of copyrightable works.
   20          The Court finds that no bond is required in this case because there is no
   21    realistic likelihood that Defendants will be harmed by Plaintiffs’ requested injunction.
   22          The Court also finds that ex parte relief is appropriate in this case because
   23    Plaintiffs have acted expeditiously and have established that they will suffer
   24    irreparable harm if their application is heard on the normal motion calendar.
   25    Plaintiffs also gave Defendants notice of this application, giving them an opportunity
   26    to be heard.
   27          Accordingly, the Court, pursuant to 17 U.S.C. §§ 502 and 512(j) and the
   28    Court’s equitable powers, hereby ORDERS as follows:

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     1         1.      Each and every one of the Defendants and their agents, servants,
     2   employees, officers, attorneys, successors, licensees, partners, and assigns and all
     3   those acting in active concert or participation with any of them, including any and all
     4   service providers who receive notice of this Order, are temporarily restrained and
     5   enjoined from:
     6              a. hosting, linking to, distributing, reproducing, performing, selling,
     7                 offering for sale, making available for download, streaming or making
     8                 any other use of the Coverage or any portion thereof;
     9              b. taking any action that induces, causes or materially contributes to the
   10                  direct infringement of Plaintiffs’ rights in the Coverage by any third
   11                  party, including without limitation hosting, linking to, distributing,
   12                  reproducing, performing, selling, offering for sale, making available for
   13                  download, streaming or making any other use of the Coverage or any
   14                  portion thereof;
   15               c. otherwise infringing Plaintiffs’ copyright in the Coverage in any manner,
   16                  whether directly, contributorily, vicariously or in any other way; and
   17               d. transferring or performing any function that results in the transfer of the
   18                  registration of the domain names <boxinghd.net> or <sportship.org> to
   19                  any other registrant or registrar.
   20          2.      Without limiting Paragraph 1 above in any way, it is further ordered that
   21    upon receipt of this Order and beginning no later than 8:45 p.m. Eastern Time on
   22    May 2, 2015, all service providers whose services will enable or facilitate
   23    Defendants’ anticipated infringement are ordered to suspend all services with respect
   24    to Defendants’ Infringing Websites. This includes Namecheap.com, Inc., Enom, Inc.,
   25    Hostwinds, LLC. as well as all other hosts, registrars and name servers, and also
   26    includes all providers who enable video delivery services to and from Defendants’
   27    infringing websites including all site acceleration providers, providers of video
   28    delivery resources, and providers of computer and network resources through which

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     1   video transits. Services may be restored to the Infringing Websites no earlier than
     2   6:00 a.m. Eastern Time on May 3, 2015. For the avoidance of doubt, the Court’s
     3   intent is to ensure that Defendants’ Infringing Websites be rendered offline,
     4   inaccessible and incapable of receiving or displaying audio or video signals between
     5   8:45 p.m. Eastern Time on May 2, 2015 and 6:00 a.m. Eastern Time on May 3, 2015.
     6           3.   It is further ordered that Defendants and each of them, including without
     7   limitation their agents, servants, employees, officers, attorneys, successors, licensees,
     8   partners, and assigns and all those acting in active concert or participation with any of
     9   them are temporarily restrained and enjoined from effecting assignments or transfers,
   10    forming new entities or associations or utilizing any other device for the purpose of
   11    circumventing or otherwise avoiding the prohibitions set forth herein.
   12            4.   This temporary restraining order is issued and effective as of 4:00 p.m.
   13    Pacific Time on April 30, 2015 and will expire at 12:00 p.m. Pacific Time on May 7,
   14    2015.
   15            5.   Plaintiffs are not required to post any bond prior to the issuance of this
   16    temporary restraining order.
   17            6.   Defendants and each of them must show cause why the terms of this
   18    Temporary Restraining Order set forth in Paragraphs 1 through 3 above should not be
   19    entered as a preliminary injunction. For purposes of this Order to Show Cause the
   20    Court construes Plaintiffs’ application as a motion for entry of a preliminary
   21    injunction, and hereby sets a hearing on Plaintiffs’ motion on May 7, 2015 at 9:00
   22    a.m. Pacific Time. Any opposition to Plaintiffs’ motion must be filed and served on
   23    all parties no later than 12:00 p.m. Pacific Time on May 4, 2015. Plaintiffs shall file
   24    their reply to any opposition no later than 5:00 p.m. Pacific Time on May 5, 2015.
   25            7.   No later than 12:00 p.m. Pacific Time on May 1, 2015, Plaintiffs shall
   26    give each of the Defendants notice of this Order by electronic mail and overnight
   27    delivery to the same addresses Plaintiffs used to serve the Advance Notice of
   28    Potential Infringement. Plaintiffs’ obligations under this Paragraph 7 shall be

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     1   satisfied once the email notices have been sent and the hard copy notices have been
     2   delivered to an overnight courier. Plaintiffs have no obligation to further confirm that
     3   the notice was successfully delivered or to re-send any notice that is returned as
     4   undeliverable for any reason. Plaintiffs shall file a declaration attesting to their
     5   compliance with this Paragraph 7 no later than 5:00 p.m. on May 1, 2015.
     6         8.     Plaintiffs shall include a copy of this Order in any correspondence they
     7   send to any person or entity they believe is acting in active concert or participation
     8   with any of Defendants, including without limitation Namecheap.com, Inc., Enom,
     9   Inc., Hostwinds, LLC and any other person or entity who provides services with
   10    respect to <boxinghd.net> and/or <sportship.org>.
   11          9.     Plaintiffs may apply to this Court for modifications of this Temporary
   12    Restraining Order as appropriate.
   13          IT IS SO ORDERED
   14
   15    Entered this 30th day of April, 2015
   16
   17
   18                                                   _______________________________
                                                        Hon. George H. Wu
   19                                                   United States District Judge
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         TEMPORARY RESTRAINING ORDER                                                      -6-
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                                                                             United States District Court
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                                                                                  ENTERED
                                                                                  March 20, 2017
                            UNITED STATES DISTRICT COURT                       David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

     DISH NETWORK L.L.C.,
                                                  Civil Action No. 4:16-cv-1771
              Plaintiff,
         v.
     LOOL TECH CO., LIMITED, and
     SHENZHEN BILINREN
     TECHNOLOGY CO., LTD., d/b/a
     SHENZHEN LOOL TECH CO., LTD.,
              Defendants.

                           Final Judgment and Permanent Injunction

          This matter came before the Court on the Combined Motion for Entry of

    Default and Default Judgment filed by Plaintiff DISH Network L.L.C. ("Plaintiff')

    against Defendants Lool Tech Co., Limited and Shenzhen Bilinren Technology Co.,

    Ltd., d/b/a Shenzhen Lool Tech Co., Ltd. (together, "Defendants").

          Having considered the submissions in support of Plaintiff's Motion, and the

    pleadings on file, the Court GRANTS the Motion, enters default, and finds:

          Plaintiff owns copyrights in the works that air on its channels which include

    AI JazeeraArabic News, MBCI, MBC Drama, MBC Kids / MBC3, and MBC Masr

    (collectively, the "DISH Channels").

          Defendants, without authorization from Plaintiff, retransmitted the DISH

    Channels and the copyrighted works that air on those channels to users of their

    Loolbox service. In doing so, Defendants directly infringed Plaintiffs exclusive

    rights to distribute and publicly perform the works that air on the DISH Channels.

    Judgment is hereby directed to be entered against Defendants on Count I of

    Plaintiffs complaint for direct copyright infringement.
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          Defendants also provide Loolbox set-top boxes, and a channel sharing feature

    of the Loolbox service, which creates the network whereby Defendants' users

    retransmit to other users, without authorization, the DISH Channels and copyrighted

    works airing on those DISH Channels. Defendants promote Loolbox as an

    unauthorized network for the distribution and public performance of the DISH

    Channels. Defendants have actual knowledge that specific users of their Loolbox

    set-top boxes and service are retransmitting the DISH Channels without

    authorization, and encourage that activity rather than taking simple measures to

    prevent the infringement. Therefore, judgment is entered against Defendants on

    Count II of Plaintiffs complaint for inducing and otherwise materially contributing

    to copyright infringement by users of their Loolbox service.

          Defendants have the right and ability to control their users' unauthorized

    retransmission of the DISH Channels and the copyrighted works that air on those

    channels, as shown by their practical, operational control over all aspects of the

    Loolbox service and the servers supporting that service. Defendants receive direct

    financial benefits from their users' unauthorized retransmission of the DISH

    Channels because the availability of this content attracts users to their Loolbox

    service, resulting in Defendants' sale of the Loolbox set-top boxes and accessories.

    Judgment shall be entered against Defendants on Count III of Plaintiffs' complaint

    for vicarious copyright infringement.

          Based on these findings, the Court hereby ORDERS that:

          1.     Plaintiff DISH Network L.L.C.          shall have judgment against

    Defendants, jointly and severally, in the total amount of $1,050,000, with interest on

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    this principal amount according to the statutory rate pursuant to 28 U.S.C. § 1961(a).

    The amount consisting of $150,000 for each of its seven registered, copyrighted

    works that Defendants willfully infringed by retransmitting these copyrighted works

    without authorization on their Loolbox service;

          2.     Defendants and any of their officers, agents, servants, employees,

    attorneys, or other persons, including dealers, acting in active concert or

    participation with any of the foregoing that receives actual notice of the order, are

    permanently enjoined from:

                 a.   copying by means of any device or process the DISH Channels or

    any of the programming that comprises the DISH Channels;

                 b.   retransmitting, streaming, distributing, or publicly performing in

    the United States, by means of the Loolbox service, or any other device or process,

    the DISH Channels or the programming that comprises the DISH Channels;

                 c.   distributing, providing, or promoting any product or service,

    including the Loolbox set-top box and the Live TV section of the Loolbox service,

    that comprises the whole or part of a network or service for the distribution and

    public performance of the DISH Channels or the programming that comprises the

    DISH Channels;

                 d.   advertising, displaying, or marketing the Loolbox service or set-

    top boxes in connection with the DISH Channels or the programming that comprises
    the DISH Channels; and

                 e.   otherwise infringing Plaintiff's rights in the DISH Channels, either
    directly, contributorily, vicariously, or in any other manner.

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          3.    Third parties providing any form of electronic storage, computer server,

   website hosting, file hosting, domain hosting, domain name registration, content

   delivery or acceleration, or social media services used in connection with any of the

   activities enjoined under Paragraph 2, and who receive actual notice of this Order,

   are enjoined from providing services in connection with any of the activities

   enjoined under Paragraph 2.

          4.    The registries and registrars holding or listing the domain names

   loolbox.net and loolbox.com, upon receiving actual notice of this Order, shall (i)

   temporarily disable the domain names through a registry hold or otherwise, and

   make them inactive and non-transferable; and (ii) transfer these domain names to

   Plaintiff, including changing the registrar of record to the registrar selected by

   Plaintiff.

          5.    The    third     parties   holding     or    listing       the   subdomain

   loolbox.en.alibaba.com and associated accounts, upon receiving actual notice of this

   Order, shall terminate the subdomain and associated accounts.

          6.    Violation of this Order shall subject Defendants and all other persons

   bound by this Order to all applicable penalties, including contempt of Court.

          7.    The Court shall retain jurisdiction over this action for two years for the

   purpose of enforcing this final judgment and permanent injunction.

          It is so ORDERED.

          SIGNED on this   n   day of      ~,2017.                     W
                                                  <]Ja~                I         A.=--
                                                 David Hittner
                                                 United States District Judge
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